         Case 15-10016               Doc 19 Filed 03/07/15 Entered 03/07/15 23:38:42                                      Imaged
                                          Certificate of Notice Page 1 of 4
B9A (Official Form 9A) (Chapter 7 Individual or Joint Debtor No Asset Case) (12/12)                                    Case Number 15−10016
                           UNITED STATES BANKRUPTCY COURT
                                    Eastern District of Louisiana
              Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
      A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 1/6/15.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office, or for registered PACER users at
https://ecf.laeb.uscourts.gov. NOTE: The staff of the bankruptcy clerk's office cannot give legal advice.
        Creditors −− Do not file this notice in connection with any proof of claim you submit to the court.
                                    See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Ryan L Hess
12085 Highway 11
Belle Chasse, LA 70037
Case Number:                                                            Social Security/Individual Taxpayer ID/Employer Tax ID/Other nos:
15−10016 Section B Office Code: 2                                       xxx−xx−1940
Attorney for Debtor(s) (name and address):                              United States Trustee (name and address): Henry G. Hobbs
Ryan L Hess                                                             400 Poydras Street, Suite 2110
12085 Highway 11                                                        New Orleans, LA 70130 Telephone number: (504) 589−4018
Belle Chasse, LA 70037
Telephone number: 5043292003                                            Bankruptcy Trustee (name and address):
                                                                        Ronald J. Hof
                                                                        9905 Jefferson Hwy.
                                                                        River Ridge, LA 70123
                                                                        Telephone number: (504) 305−1591

                                                       Meeting of Creditors
Date: March 19, 2015                                                   Time: 01:30 PM
Location: F. Edward Hebert Federal Bldg, #111, 600 S. Maestri Street, New Orleans, LA 70130
Debtor(s) must provide picture identification and proof of social security number to the trustee. Debtor(s) must inform the court of any
change of address as long as this case or any related adversary proceeding is pending. B. R. 4002. Failure to do so may result in dismissal of
the case.

                                  Presumption of Abuse under 11 U.S.C. § 707(b)
                                                See "Presumption of Abuse" on reverse side.
The presumption of abuse does not arise.

                                                               Deadlines:
                                           See additional information on the reverse side.
                                            Parties must file by the following deadlines:
                Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 5/18/15
                    Objections to Exemptions: Thirty (30) days after the conclusion of the meeting of creditors.
     Financial Management Course: Certification of Completion of Postpetition Instructional Course Concerning Personal Financial
            Management (Form 23) for individual chapter 7 debtor due 60 days after first date set for the meeting of creditors.

                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

             Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                             Creditor with a Foreign Address:
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time"
on the reverse side.
Address of the Bankruptcy Clerk's Office:                                                        For the Court:
United States Bankruptcy Court                                          Clerk of the Bankruptcy Court:
Eastern District of Louisiana                                           Sheila Booth
Hale Boggs Federal Building
500 Poydras Street, Suite B−601
New Orleans, LA 70130
  Telephone number: (504) 589−7878
Hours Open: Monday − Friday 8:30 AM − 4:30 PM                           Date: 3/5/15
         Case 15-10016                Doc 19 Filed 03/07/15 Entered 03/07/15 23:38:42                                        Imaged
                                           Certificate of Notice Page 2 of 4
                                                          EXPLANATIONS                                           B9A (Official Form 9A) (12/12)

Filing of Chapter 7      A bankruptcy case under Chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.


 Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in
                          this case.


Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                     and garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30
                     days or not exist at all, although the debtor can request the court to extend or impose a stay.


Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of
                     the Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         without further notice.
                         At the meeting, the trustee may give oral notice of an intention to abandon estate property.


NOTICE                   FAILURE OF A DEBTOR TO ATTEND THE MEETING OF CREDITORS IS GROUNDS FOR
                         IMMEDIATE DISMISSAL OF THIS BANKRUPTCY CASE BY THE COURT, WITHOUT FURTHER
                         NOTICE TO THE DEBTOR, CREDITORS OR PARTIES OF INTEREST.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this
                       notice is mailed to a creditor at a foreign address, the creditor may file a motion requesting the court to extend the
                       deadline.
                       Do not include this notice with any filing you make with the court.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or
                         (6), you must file a complaint −− or a motion if you assert the discharge should be denied under §727(a)(8) or (a)(9)
                         −− in the bankruptcy clerk's office by the "Deadline to Object to Debtor's Discharge or to Challenge the
                         Dischargeability of Certain Debts" listed on the front of this form. The bankruptcy clerk's office must receive the
                         complaint or motion and any required filing fee by that deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       This district has electronic filing. All documents may be viewed at the bankruptcy clerk's office at the address listed
Office                   on the front side. Registered PACER users may also view the documents at https://ecf.laeb.uscourts.gov.


Creditor with a          Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address          case.


                               Refer to Other Side for Important Deadlines and Notices
              Case 15-10016            Doc 19 Filed 03/07/15 Entered 03/07/15 23:38:42                               Imaged
                                            Certificate of Notice Page 3 of 4
                                               United States Bankruptcy Court
                                               Eastern District of Louisiana
In re:                                                                                                     Case No. 15-10016-JAB
Ryan L Hess                                                                                                Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 053L-2                  User: sm                           Page 1 of 2                          Date Rcvd: Mar 05, 2015
                                      Form ID: b9a                       Total Noticed: 28


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 07, 2015.
db             +Ryan L Hess,    12085 Highway 11,   Belle Chasse, LA 70037-4223
aty            +Albert J. Derbes, IV,    The Derbes Law Firm, L.L.C.,    3027 Ridgelake Drive,
                 Metairie, LA 70002-4924
aty            +Gregory J. Walsh,    The Sundmaker Firm, LLC,    336 Lafayette Street,     Suite 301,
                 New Orleans, LA 70130-3265
aty            +Jack K. Whitehead, Jr.,    11909 Bricksome Avenue,    Suite W-3,    Baton Rouge, LA 70816-2698
aty            +Karen E. Trevathan,    8235 YMCA Plaza Drive,    Suite 400,    Baton Rouge, LA 70810-0939
aty            +Nicholas Jacob Zeringue,    311 Patriot St.,    P O Box 759,    Thibodaux, LA 70302-0759
aty            +Patrick S. Garrity,    Steffes, Vingiello & McKenzie, LLC,     13702 Coursey Blvd.,     Building 3,
                 Baton Rouge, LA 70817-1370
aty            +Robert A. Mathis,    Newman Mathis Brady & Spedale,    212 Veterans Memorial Boulevard,
                 Suite 100,   Metairie, LA 70005-4900
aty           #+Seth J. Smiley,    Wolfe Law Group, LLC,    4821 Prytania Street,    New Orleans, LA 70115-4015
aty            +William T. McNew,    McNew, King, Mills, Burch & Landry, LLP,     2400 Forsythe Ave.,    Suite 2,
                 Monroe, LA 71201-2997
smg             Collector of Revenue,    City of New Orleans,    City Hall Annex,    New Orleans, LA 70112
smg             Louisiana Department of Revenue,    Collection Division/Bankruptcy Section,      P. O. Box 66658,
                 Baton Rouge, LA 70896-6658
smg             U. S. Attorney’s Office,    Eastern District of Louisiana,     650 Poydras Street,    Suite 1600,
                 New Orleans, LA 70130-7212
ptcrd          +Bottom Line Equipment, LLC,    10260 Airline Highway,    St. Rose, LA 70087-3004
cr             +JOHN DEERE CONSTRUCTION & FORESTRY COMPANY,     McNew, King, Mills, Burch & Landry, LLP,
                 c/o William T. McNew,    2400 Forsythe Ave., Ste 2,    Monroe, LA 71201-2997
cr             +JPMorgan Chase Bank, N.A.,    c/o Robert A. Mathis,    212 Veterans Blvd.,
                 Metairie, LA 70005-3047
ptcrd          +K&K Marine, LLC,    166 Bayou Boeuf Road,    Morgan City, LA 70380-7921
cr             +Mass P. "Tinker" Blackwell, Jr.,    36115 Lock One Road,     Pearl River, LA 70452-2431
cr             +Santander Consumer USA, Inc., an assignee of GEMB,     The Sundmaker Firm, LLC,
                 336 Lafayette Street, Suite 301,    New Orleans, LA 70130-3265
intp           +Shale Support Services, L.L.C.,    4023 Ambassador Caffery,     Suite 200,
                 Lafayette, LA 70503-5268
ptcrd          +Wholesale Electric Supply of Houston,     4040 Gulf Freeway,    Houston, TX 77004-2599
3286308        +JPMorgan Chase Bank, NA,    c/o Robert A. Mathis, Esq.,     Newman, Mathis, Brady & Spedale,
                 212 Veterans Boulevard,    Metairie, Louisiana 70005-3047
3284987        +John Deere Construction & Forestry Company,     c/o William T. McNew,
                 McNew, King, Mills, Burch & Landry, LLP,     2400 Forsythe Ave., Ste 2,
                 Monroe, Louisiana 71201-2997
3290197        +Richard W. Cryar, Plan Agent of Alliance Consultin,     c/o Patrick S. Garrity,
                 Steffes, Vingiello & McKenzie, LLC,     13702 Coursey Boulevard, Building 3,
                 Baton Rouge, LA 70817-1370

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: BRJHOF.COM Mar 05 2015 19:48:00     Ronald J. Hof,    9905 Jefferson Hwy.,
                 River Ridge, LA 70123-2530
smg             E-mail/Text: bankruptcy@lwc.la.gov Mar 05 2015 19:48:54      Delinquent Accounts Unit,
                 La. Department of Labor,   Office of Regulatory Services,    P.O. Box 44127,
                 Baton Rouge, LA 70804-4127
ust            +E-mail/Text: ustpregion05.nr.ecf@usdoj.gov Mar 05 2015 19:48:45      Office of the U.S. Trustee,
                 400 Poydras Street,   Suite 2110,   New Orleans, LA 70130-3238
ptcrd          +E-mail/Text: bknotices@bankofthewest.com Mar 05 2015 19:49:20      Bank of the West,
                 2527 Camino Ramon,   San Ramon, CA 94583-4213
                                                                                              TOTAL: 4

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 07, 2015                                             Signature: /s/Joseph Speetjens
           Case 15-10016       Doc 19 Filed 03/07/15 Entered 03/07/15 23:38:42               Imaged
                                    Certificate of Notice Page 4 of 4


District/off: 053L-2          User: sm                    Page 2 of 2                  Date Rcvd: Mar 05, 2015
                              Form ID: b9a                Total Noticed: 28

_


                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 20, 2015 at the address(es) listed below:
              Albert J. Derbes, IV    on behalf of Interested Party   Shale Support Services, L.L.C.
               ajdiv@derbeslaw.com, derbespacer@gmail.com
              Gregory J. Walsh    on behalf of Creditor   Santander Consumer USA, Inc., an assignee of GEMB
               Lending, Inc. greg@sundmakerfirm.com, jennifer@sundmakerfirm.com
              Jack K. Whitehead, Jr.    on behalf of Creditor Mass P. "Tinker" Blackwell, Jr.
               jwhitehead@whitehead-law.com, jbishop@whitehead-law.com;paralegal@whitehead-law.com
              Karen E. Trevathan    on behalf of Petitioning Creditor   Bank of the West karen@ketlaw.com,
               pooky@ketlaw.com
              Nicholas Jacob Zeringue    on behalf of Petitioning Creditor   K&K Marine, LLC
               njz@zeringuelawgroup.com, assistant@zeringuelawgroup.com
              Office of the U.S. Trustee     USTPRegion05.NR.ECF@usdoj.gov
              Patrick S. Garrity    on behalf of Interested Party Richard W. Cryar pgarrity@steffeslaw.com,
               schassaing@steffeslaw.com
              Robert A. Mathis    on behalf of Creditor   JPMorgan Chase Bank, N.A. rmathis@newmanmathis.com
              Ronald J. Hof    la44@ecfcbis.com
              Seth J. Smiley    on behalf of Petitioning Creditor   Wholesale Electric Supply of Houston
               ssmiley@wolfelaw.com, firm@wolfelaw.com
              Seth J. Smiley    on behalf of Petitioning Creditor   Bottom Line Equipment, LLC
               ssmiley@wolfelaw.com, firm@wolfelaw.com
              Wilbur J. (Bill) Babin, Jr.    trusteebabin@wjbabin.com, la35@ecfcbis.com
              William T. McNew    on behalf of Creditor   JOHN DEERE CONSTRUCTION & FORESTRY COMPANY
               wmcnew@mkmblaw.com
                                                                                              TOTAL: 13
